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IN THE UNITED STATES DISTRICT COURQ;D {“-,‘-.‘ Milc~
FOR THE WESTERN DISTRICT OF TENNESSEE

 

       

 

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UNrrED srATES 0F AMERICA ) up …: rlS
)
Plaintiff, )
)
vs ) CASE No. 2:03CR20405-M1
)
DANA LILLY )
)
Defendant. )
)
0RDER To sURRENnER

 

The defendant, Dana Lilly, having been sentenced in the above case to the custody of the Bureau
of Prisons and having been granted leave by the Court to report to the designated facility, IS HEREBY
ORDERED to surrender to the Bureau ofPrisons by reporting to FCI MEMPHIS (SCP), 1101 John A.
Denie Road, Memphis, TN 38134by 2:00 p.m. on WEDNESDAY, AUGUST 31, 2005.

IT IS FURTHER ORDERED that upon receipt of a copy of this Order the defendant shall sign
one copy of this Order in the proper space below and return it to the Clerk of the Court in the enclosed self-
addressed envelope, acknowledging that he/she has received a copy of this Order, and that he/she will
report as ordered to the facility named above.

ENTERED this the § day ofAugust, 2005

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J N PHIPPS McCALLA
ITED STATES DISTRICT JUDGE

 

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Thls document entered on the docket chest |n compliance /
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ACKNOWLEDGEMENT

I agree to report as directed above and understand that
if I fail to report, I may be cited for contempt of
Court and if convicted, may be punished by
imprisonment, i'lne or both.

Signed:

 

Defendant

Date:

 

ISTRIC COURT - WESTERN D's'TRCT oFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 61 in
case 2:03-CR-20405 Was distributed by faX, mail, or direct printing on
August 8, 2005 to the parties listed.

 

 

Joseph C. Murphy

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Ste. 800

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L. Lee Harrell

HARRELL & HARRELL
110 Northvvest Court Sq.
Trenton, TN 38382

Honorable J on McCalla
US DISTRICT COURT

